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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

CRYSTAL CAMPBELL                             )
                                             )
                                             )      CIVIL ACTION FILE NO.
                   Plaintiff,                )
                                             )
v.                                           )
                                             )      JURY TRIAL DEMANDED
MAYO CLINIC INC.                             )
                                             )
                   Defendant.                )
                                             )

                                  COMPLAINT

      Plaintiff Crystal Campbell (“Ms. Campbell” or “Plaintiff”) respectfully

submits this Complaint for Damages and Equitable Relief:

                                INTRODUCTION

      2.     Ms. Campbell is an African American female who was formerly

employed by Mayo Clinic Inc. (“Defendant”) as Clinical Specialty Representative

(“CSR”) in the Southern Region of the Gastroenterology/Infectious Disease

Division. Despite satisfactory performance in her role, Ms. Campbell suffered

disparate treatment, and termination, based on her race and gender.

      3.     Plaintiff files this Complaint for declaratory, injunctive, and monetary

relief against Defendant for race discrimination in violation of 42 U.S.C. § 1981 and
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Title VII of the Civil Rights Act of 1964 (“Title VII) and sex discrimination in

violation of Title VII.       Plaintiff asserts mixed motive and single motive

discrimination claims

                              JURISDICTION AND VENUE

      4.     Plaintiff brings this action pursuant to 42 U.S.C. § 1981, as well as Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e. Jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).

      5.     The unlawful violations of Plaintiff’s civil rights were committed

within the Northern District of Georgia. Venue is proper in this Court under 28

U.S.C. § 1391(b) and 42 U.S.C. § 2000e-5(f)(3), as a substantial part of the events

or omissions giving rise to the claim occurred in this judicial district.

                        ADMINISTRATIVE EXHAUSTION

      6.     Ms. Campbell has satisfied all administrative prerequisites to perfect

her claims of discrimination and retaliation under Title VII. Specifically, she has

timely filed a Charge of Discrimination with the Equal Employment Opportunity

Commission (“EEOC”) alleging race and sex discrimination and retaliation and

timely filed this lawsuit following receipt of a Notice of Right to Sue Letter for her

claims under Title VII of the Civil Rights Act of 1964.


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                                      PARTIES

      7.       Ms. Campbell is now and was at all times relevant to this action, a

citizen of the United States entitled to bring actions of this type and nature. Plaintiff

is now and was at all times relevant to this action a resident of the state of Georgia.

      8.       Defendant Mayo Clinic Inc. is a foreign non-profit corporation that is

registered with the Georgia Secretary of State. Its principal place of business is

located at 200 First Street, S.W., Rochester, MN, 55905. Its registered agent for

service of process is CT Corporation System. Process can be served at 289 S Culver

St, Lawrenceville, GA, 30046-480192.

                             STATEMENT OF FACTS

      9.       Ms. Campbell is an African American female.

      10.      Before joining Defendant, Ms. Campbell had over 19 years of health

care experience, including more than a decade in sales with multiple MVP and

leadership awards. Ms. Campbell earned a Bachelor of Science degree in Chemical

Engineering from Howard University where she graduated Magna Cum Laude. She

earned her Master of Science degree in Biomedical Engineering from the University

of Virginia.




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      11.    Defendant hired Ms. Campbell effective March 7, 2017 as a Clinical

Specialty    Representative     (“CSR”)    in   the   Southern    Region     of   the

Gastroenterology/Infectious Disease Division.

      12.    Ms. Campbell was recommended for the position by a white, female

co-worker in this Division, Deanna Pryor, who was impressed with Ms. Campbell’s

sales results at their prior employer.

      13.    Defendant hired Ms. Campbell after several rounds of interviews with

multiple individuals including her supervisor, Clark Robinson (“Robinson”).

Robinson was one of two people who interviewed her in Georgia.

      14.    Ms. Campbell then travelled to Minnesota to interview with a five-

person panel that included Robinson. Immediately after this panel interview, she

met with John Heywood, Robinson’s supervisor, and was offered the job on the spot.

      15.    At both of these interviews, Ms. Campbell saw a white male,

presumably the other applicant for the position, enter and exit the interview room

before or after her.

      16.    As Ms. Campbell was leaving after her final interview, Robinson

requested that, if she ran into the other (white, male) applicant at the small airport




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on the way back from the interview, she not disclose her job offer because he wanted

to let the applicant know about the hiring decision.

      17.    Robinson’s statements confirmed to Ms. Campbell that the white male

was another applicant and suggested to her that Robinson may have supported his

candidacy over hers.

      18.    Robinson made it a point to tell Ms. Campbell that his supervisor,

Heywood, wanted to hire her (which Ms. Campbell perceived to mean that by

implication, Robinson did not).

      19.    Once Ms. Campbell began working for Defendant, Robinson almost

immediately began to subject her to stringent oversight and burdensome

administrative tasks that he did not require of other, white employees.

      20.    Only Ms. Campbell and the other African American female member of

her team were subjected to this level of scrutiny.

      21.    Additionally, an African American, female CSR on the Neurology

Team in Georgia also found Robinson’s conduct towards her to be blatantly

disrespectful when they had a Local Area Team Meeting in December 2018 at which

he was present.




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       22.    Robinson made remarks that suggested he viewed this individual as a

stereotypical angry black woman. However, because this individual was not

supervised directly by Robinson and her tenure preceded his, she was not subject to

the same type and scope of treatment that Ms. Campbell experienced.

       23.    The standards Robinson seemed to require of Ms. Campbell were also

always shifting, such that Ms. Campbell was never sure she was meeting his

arbitrary demands.

       24.     By way of example, Robinson would complain that Ms. Campbell’s

semi-monthly reports were insufficiently detailed, but when she added detail, he

would then complain that they were too detailed.

       25.    Ms. Campbell wanted to do her job well and asked Robinson for a “best

practices” example of what he wanted on these reports.

       26.    Robinson provided an example from a white CSR that contained almost

no detail at all.

       27.    Ms. Campbell responded by providing a less detailed report that

faithfully replicated the “best practices” outline Robinson gave to her.




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      28.    Robinson, however, still was not satisfied even though Ms. Campbell

followed the format he had provided her which format apparently was acceptable

“best practices” for a white CSR.

      29.    Robinson also denied Ms. Campbell resources that he provided to other,

white CSRs and which would have improved her sales numbers.

      30.    Defendant offers certain streamlined shipping procedures so that

provider clients can transfer specimens to Defendant’s laboratory facilities more

efficiently. This offering makes Defendant’s products more attractive to clients but,

to offer it, Ms. Campbell needed Robinson’s permission.

      31.    Ms. Campbell requested permission for the streamlined shipping

procedures several times, but Robinson never approved her requests.

      32.    When a white CSR—who began her job the same day as Ms.

Campbell—made these requests for the streamlined shipping procedures, Robinson

approved them.

      33.    In Ms. Campbell’s first, and only, annual evaluation on March 6, 2018,

she received the highest possible overall rating (“achieves expectations”).




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       34.    Ms. Campbell achieved expectations in 31 out of 33 competencies

related to putting patients first. She also achieved expectations in five out of six

competencies related administrative/other skills.

       35.    Robinson continued to use the CRM entries—one of the few

quantitative metrics for CSRs, along with sales figures—to find fault with Ms.

Campbell.

       36.    When Ms. Campbell returned from a vacation in September 2018,

Robinson claimed that she had failed to enter client appointment data for the

preceding two weeks.

       37.    However, Ms. Campbell attended a mandatory sales meeting during the

third week of August 2018 and was on approved vacation time for the following

week. Therefore, Robinson knew she had no client appointment data to enter but

still criticized her.

       38.    On information and belief, many white employees flatly disregarded

CRM data entry, and other administrative tasks required of Ms. Campbell but, to her

knowledge, suffered no consequences or reprimands.

       39.    Defendant’s discriminatory continued when it placed Ms. Campbell on

an unjustified performance improvement plan (“PIP”).


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        40.   The PIP specifically stated that it was an “informal coaching document”

and would not be sent to Human Resources “unless formal corrective action

processes are initiated as a result of non-achievement.”

        41.   Despite its unjustified nature, Ms. Campbell successfully completed the

plan.

        42.   Despite Ms. Campbell’s successful completion of the PIP, Defendant,

through Robinson, terminated Ms. Campbell via telephone on February 22, 2019.

        43.   Robinson was insistent that this phone call occur at this time; even

going so far as to interrupt Ms. Campbell during a client sales meeting to see if she

was available.

        44.   The hasty timing of Robinson’s termination decision reflects his

animus and that his alleged reasons for terminating Ms. Campbell were pretextual.

        45.   The latest sales numbers were published earlier that week and showed

that Ms. Campbell’s sales numbers—and her rankings within the team—had

improved. By terminating her two weeks before it was necessary for him to note

this improvement in her annual performance appraisal, Robinson sought to justify

claiming her termination was based on performance.




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      46.    Further evidencing the animus reflected in the timing of the

termination, Defendant terminated Ms. Campbell was terminated just shy of her two-

year anniversary with Defendant meaning that she was disqualified from its pension

benefits.

      47.    Defendant failed to follow its own policies for an alleged performance

related termination.

      48.    Defendant has a progressive corrective action process that progresses

as follows: (1) Notification of Corrective Action, (2) Written Warning, (3) Final

Written Warning and (4) Termination (with notes detailing reason and what led to

termination).

      49.    Ms. Campbell did not receive a formal corrective action at any level;

she received no final incident, prior warning, or notification that her job was in

jeopardy.

      50.    With no assertion of misconduct by Ms. Campbell, an immediate

termination was unwarranted and represents a discriminatory deviation from

Defendant’s policies.

      51.    Defendant claimed Ms. Campbell’s termination was due to “failure to

meet performance expectations.”


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      52.   At this time, however, Ms. Campbell’s sales figures were such that she

was ranked 16 out of 28 CSRs.

      53.   On information and belief, no CSRs with sales numbers or rankings

below Ms. Campbell’s were terminated.

      54.   One coworker —a white male—performed demonstrably worse than

Ms. Campbell during this period but kept his job.

      55.     Another white male, whose performance was ranked in last place, was

not terminated, and on information and belief was promoted to a Hospital Account

Executive role in September of 2019.

      56.   A white female CSR, who was ranked well below Ms. Campbell was

also not terminated and was actually selected to participate in a coveted leadership

development stretch assignment just prior to Ms. Campbell’s termination.

                                   COUNT I
                    42 U.S.C. § 1981 – Race Discrimination

      57.   All preceding paragraphs are incorporated herein by reference.

      58.   At all times material to this Complaint, Plaintiff and Defendant were

parties to an employment agreement under which Plaintiff worked for Defendant

and Defendant compensated her for her work.

      59.   Plaintiff is African American.

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         60.   Plaintiff performed her obligations under her employment agreement.

         61.   42 U.S.C. § 1981 prohibits Defendant from discriminating against

Plaintiff on the basis of race with regard to the making and enforcing of her

employment agreement with Defendant.

         62.   The above-pleaded discriminatory conduct toward Plaintiff, including,

but not limited to, demeaning and exclusionary treatment, unjustified criticism,

excessive scrutiny, and her discriminatory termination based on race constitutes

unlawful race discrimination against Plaintiff in the terms and conditions of her

employment in violation of 42 U.S.C. § 1981.

         63.   Defendant violated Plaintiff’s rights under 42 U.S.C. § 1981 by

subjecting her to disparate treatment and terminating her employment because of her

race.

         64.   Defendant undertook its conduct intentionally and maliciously with

respect to Plaintiff and her federally protected rights, or additionally, and in the

alternative, undertook its conduct recklessly with respect to Plaintiff and her

federally protected rights, entitling Plaintiff to recover punitive damages against

Defendant.




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          65.   Defendant’s actions constitute unlawful intentional race discrimination

in violation of 42 U.S.C. § 1981.

          66.   Defendant willfully and wantonly disregarded Plaintiff’s federally

protected rights and Defendant’s discrimination against Plaintiff was undertaken in

bad faith.

          67.   As a direct and proximate result of Defendant’s violations of 42 U.S.C.

§ 1981, Plaintiff has suffered damages including lost compensation and other

benefits of employment, emotional distress, inconvenience, loss of income,

humiliation, and other indignities.

          68.   Accordingly, Plaintiff is entitled to the equitable and monetary relief

set forth in the following prayer for relief for Defendant’s violation of her rights

under 42 U.S.C. § 1981.

                                       COUNT II
                             Title VII Race Discrimination

          69.   Paragraphs 1 through 56 are incorporated herein by reference.

          70.   Plaintiff is in a protected class based on her race (Black).

          71.   Plaintiff is an “employee” as defined by Title VII, 42 U.S.C. § 2000e

et seq.

          72.   Plaintiff was qualified for the position to which she was hired.

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          73.   Defendant is an “employer” as defined by Title VII, 42 U.S.C. § 2000e

et seq.

          74.   Defendant discriminated against Plaintiff in the terms and conditions of

her employment when, among other things, its leaders treated her differently and

less favorably because of her race and terminated her employment.

          75.   Defendant undertook this unlawful conduct intentionally and

maliciously with respect to Plaintiff and her federally protected rights, entitling her

to recover punitive damages against Defendant.

          76.   Additionally, or in the alternative, Defendant undertook its unlawful

conduct recklessly with respect to Plaintiff and her federally protected rights,

entitling her to recover punitive damages.

          77.   As a direct and proximate result of the Defendant’s actions, Plaintiff

suffered damages including stress, inconvenience, loss of income and benefits,

humiliation, and other indignities.

          78.   Plaintiff is entitled to an award of back pay and benefits, compensatory

damages, attorney’s fees, punitive damages, and all other appropriate damages,

remedies, and other relief available under Title VII and all federal statutes providing

remedies for violations of Title VII.


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                                      COUNT III
                              Title VII Sex Discrimination

          79.   Paragraphs 1 through 56 are incorporated herein by reference.

          80.   Plaintiff is in a protected class based on her sex (female).

          81.   Plaintiff is an “employee” as defined by Title VII, 42 U.S.C. § 2000e

et seq.

          82.   Plaintiff was qualified for the position to which she was hired.

          83.   Defendant is an “employer” as defined by Title VII, 42 U.S.C. § 2000e

et seq.

          84.   Defendant discriminated against Plaintiff in the terms and conditions of

her employment when, among other things, it treated her differently and less

favorably because she was a female as compared to her male peers.

          85.   Defendant undertook this unlawful conduct intentionally and

maliciously with respect to Plaintiff and her federally protected rights, entitling her

to recover punitive damages against Defendant.

          86.   Additionally, or in the alternative, Defendant undertook its unlawful

conduct recklessly with respect to Plaintiff and her federally protected rights,

entitling her to recover punitive damages.



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      87.      As a direct and proximate result of the Defendant’s actions, Plaintiff

suffered damages including stress, inconvenience, loss of income and benefits,

humiliation, and other indignities.

      88.      Plaintiff is entitled to an award of back pay and benefits, compensatory

damages, attorney’s fees, punitive damages, and all other appropriate damages,

remedies, and other relief available under Title VII and all federal statutes providing

remedies for violations of Title VII.

                                       PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays for the following relief:

      A. That a jury trial be had on all issues so triable;

      B. Back pay and benefits;

      C. Front pay and benefits;

      D. Compensatory damages;

      E. Punitive damages;

      F. Declaratory relief;

      G. Injunctive relief to prevent Defendant from engaging in such discriminatory

            and retaliatory conduct in the future;

      H. Costs incurred in bringing this action, including Plaintiff’s attorneys' fees;


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     I. Interest on all monetary awards; and

     J. Such other and further relief as the court deems appropriate under the

        circumstances of this case.

     Respectfully submitted this 8th day of April 2021.



                                            BUCKLEY BEAL, LLP

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